Case 0:11-cv-61701-JIC Document 1 Entered on FLSD Docket 07/29/2011 Page 1 of 7




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 LACOLA CUNNINGHAM, individually,

       Plaintiff,

 v.

 SYNDICATED OFFICE SYSTEMS, INC.,
 (doing business as “Central Financial Control”),
 a foreign corporation,

      Defendant.
 _________________________________________/

        COMPLAINT FOR VIOLATIONS OF 15 U.S.C. § 1692 et seq.,
           THE FAIR DEBT COLLECTION PRACTICES ACT
                        JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. § 1692 et seq. (“FDCPA”). Simply put, in its telephonic efforts to collect a

 consumer debt from Plaintiff, Defendant failed to disclose the purpose of its call to

 Plaintiff as well as its identity as a debt collector, both of which are federally

 mandated requirements of debt collectors pursuant to the FDCPA.

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337 and 15

 U.S.C. § 1692k. Venue in this District is proper because Plaintiff resides here and

 Defendant does business in this District.
Case 0:11-cv-61701-JIC Document 1 Entered on FLSD Docket 07/29/2011 Page 2 of 7




                                      PARTIES

         3.   Plaintiff, LACOLA CUNNINGHAM, is a natural person, and a

 citizen of the State of Florida, residing in Broward County, Florida.

         4.   Defendant SYNDICATED OFFICE SYSTEMS, INC. (“Defendant”),

 conducts its business sunder the name “Central Financial Control” and is a foreign

 corporation primarily operating from offices located at 1445 Ross Avenue, Suite

 1400, Dallas, Texas 75202.

         5.   Defendant regularly uses the telephone in a business, the principal

 purpose of which is the collection of consumer debts.

         6.   At all times material to the allegations of this complaint, Defendant

 was acting as a debt collector with respect to the collection of Plaintiff’s alleged

 debt.

         7.   With respect to the “Congressional findings and declaration of

 purpose” portion of the FDCPA, The United States Congress has declared at 15

 U.S.C. § 1692:

              (a) Abusive practices
              There is abundant evidence of the use of abusive, deceptive, and
              unfair debt collection practices by many debt collectors. Abusive debt
              collection practices contribute to the number of personal bankruptcies,
              to marital instability, to the loss of jobs, and to invasions of individual
              privacy.

              (b) Inadequacy of laws
              Existing laws and procedures for redressing these injuries are
              inadequate to protect consumers.

                                            2
Case 0:11-cv-61701-JIC Document 1 Entered on FLSD Docket 07/29/2011 Page 3 of 7




                          FACTUAL ALLEGATIONS

       8.    Defendant, on behalf of a medical provider, sought to collect an

 alleged consumer debt from Plaintiff arising from personal medical services having

 been rendered by said medical provider.

       9.    Over the past eighteen months, Defendant called Plaintiff’s residential

 telephone line on multiple occasions in an effort to collect the aforementioned

 medical debt; each telephone call from Defendant played a pre-recorded voicemail

 message, which was subsequently overheard by Plaintiff.

       10.   That based upon information and belief, Defendant called Plaintiff

 and played a pre-recorded message, which stated the following:


       This is a message from Central Financial Control please call us at 1-
       800-300-7192 -- so that we can speak with you regarding this
       personal business matter. Thank you.


       11.   The telephone messages are “communications” as defined by 15

 U.S.C. § 1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-

 60660-Civ-Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla.

 Oct. 31, 2008).

       12.   The voicemail messages failed to properly disclose that Defendant is a

 debt collector in violation of 15 U.S.C § 1692e(11). Foti v. NCO Financial

 Systems, Inc., 424 F.Supp.2d 643 (S.D.N.Y. 2006); Belin v. Litton Loan Servicing,


                                           3
Case 0:11-cv-61701-JIC Document 1 Entered on FLSD Docket 07/29/2011 Page 4 of 7




 2006 U.S. Dist. LEXIS 47953 (M.D. Fla. 2006); Leyse v. Corporate Collection

 Servs., 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

       13.    Defendant failed to disclose the purpose of the communication by

 stating that it was in regard to a “personal business matter” when the true purpose

 behind the call was to collect a debt from Plaintiff. See generally, Wright v. Credit

 Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga. 1982); Hosseinzadeh v.

 M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

       14.    The FDCPA has been construed by Federal Courts as a strict liability

 statute that is to be construed liberally so as to effectuate its remedial purpose. See

 generally, LeBlanc v. Unifund CCR Partners, 601 F.3d 1185 (11th Cir. March 30,

 2010); Russell v. Equifax A.R.S., 74 F.3d 30, 33 (2d Cir. 1996).

       15.    Federal Courts have held that the failure to properly identify oneself

 as a debt collector in a voicemail message left on an answering machine or state

 that a voicemail message was left as an attempt to collect a debt constituted a valid

 claim under the FDCPA. Anchondo v. Anderson, Crenshaw & Associates, LLC,

 583 F.Supp.2d 1278 (D. New Mexico 2008); Edwards v. Niagara Credit Solutions,

 Inc., 2009 U.S. App. LEXIS 22500 (11th Cir. 2009).

       16.    Plaintiff has elected to opt out of a pending class action lawsuit

 against Defendant, which involves the same and/or similar claims as to those




                                           4
Case 0:11-cv-61701-JIC Document 1 Entered on FLSD Docket 07/29/2011 Page 5 of 7




 alleged in the instant lawsuit. Brown v. Syndicated Office Systems, Inc., Case No.

 9:10-cv-80465-JIC (Original date of filing: April 2, 2010).

       17.    The Supreme Court has held that the statute of limitations is tolled

 and/or extended for those electing to opt out of a class action and file individual

 claims. Crown, Cork & Seal Co. v. Parker, 462 U.S. 345 (1983).

                            COUNT I
        FAILURE TO DISCLOSE STATUS AS A DEBT COLLECTOR

       18.    Plaintiff incorporates Paragraphs 1 through 17.


       19.    Defendant’s voicemail messages failed to disclose to Plaintiff that it

 was a debt collector in violation of 15 U.S.C § 1692e(11). See Chalik v. Westport

 Recovery Corp., 677 F.Supp.2d 1322 (S.D. Fla. October 30, 2009) (holding that

 debt collectors leaving voicemail messages requesting a return phone call on a

 consumer debt are subject to the requirements of 15 U.S.C § 1692e(11))


       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:


              a.     Damages;


              b.     Attorney’s fees, litigation expenses and costs of the instant suit;

                     and

              c.     Such other or further relief as the Court deems proper.


                                            5
Case 0:11-cv-61701-JIC Document 1 Entered on FLSD Docket 07/29/2011 Page 6 of 7




                            COUNT II
             FAILURE TO MAKE MEANINGFUL DISCLOSURE

       20.    Plaintiff incorporates Paragraphs 1 through 17.

       21.    Defendant placed telephone calls to Plaintiff without making a

 meaningful disclosure of the true purpose behind Defendant’s communications in

 violation of 15 U.S.C §1692d(6). See Valencia v The Affiliated Group, Inc., Case

 No. 07-61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008 (S.D. Fla.

 September 23, 2008).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

              c.    Such other or further relief as the Court deems proper.

                                        JURY DEMAND

        Plaintiff demands trial by jury.

 Dated this 29th day of July, 2011.


                                           SCOTT D. OWENS, ESQ.
                                           Attorney for Plaintiff
                                           2000 E. Oakland Park Blvd., Suite 106
                                           Ft. Lauderdale, FL 33306
                                           Telephone: 954-306-8104
                                           Facsimile: 954-337-0666
                                           scott@scottdowens.com


                                             6
Case 0:11-cv-61701-JIC Document 1 Entered on FLSD Docket 07/29/2011 Page 7 of 7




                                 By:/s/ Scott D. Owens
                                    Scott D. Owens, Esq.
                                    Florida Bar No. 0597651




                                      7
